Filed 06/02/20                                                Case 20-11858                                                          Doc 11

     L154 Notice of Payment Due (v.5.14)                                                                                   USBC,EDCA

                  UNITED STATES BANKRUPTCY COURT
                       Eastern District of California
                          Robert E. Coyle United States Courthouse
                               2500 Tulare Street, Suite 2501
                                  Fresno, CA 93721−1318

                                         (559) 499−5800
                                      www.caeb.uscourts.gov
                                      M−F 9:00 AM − 4:00 PM



                                                NOTICE OF PAYMENT DUE

     In re
     Virginia Reyes                                                                                       Case Number
                                                                             Debtor(s).             20−11858 − B − 7



     The fee for a document filed by you was not paid in full at the time of filing. The document was entered on the docket on
     05/29/2020. Full payment of fees is expected the same calendar day documents are filed. The required fee is now DUE AND
     PAYABLE.
     For Parties without an Attorney: If the fee is not paid within three business days, the Clerk's Office will issue an Order to
     Show Cause for Failure to Pay Fees and set a hearing date. If you do not pay the fee before the hearing date, the court may
     take additional action at the hearing.
     To pay the fee that is due, you may hand deliver your payment of cash (exact change only), money order or cashier's check to
     the Clerk's Office at the address below. You may also mail a money order or cashier's check to the same address. PLEASE DO
     NOT SEND CASH THROUGH THE MAIL. If you are unsure how much you owe to the court, you can contact the Clerk's office
     at the phone number at the bottom of the page.
     For Attorneys: If your document was e−Filed, you may make your payment through the court's eCalWebFiling. If the fee is not
     paid within three business days, the Clerk's Office will issue an Order to Show Cause for Failure to Pay Fees and set a hearing
     date.
     If you are unable to complete the payment transaction, or if you dispute the propriety or the amount of the fee due, please call
     the Clerk's Office at (559) 499−5800 during regular business hours.
     If you need more information regarding this notice, you may view cases electronically through a PACER account or obtain Filing
     and Fee information from our web site at www.caeb.uscourts.gov.




     Dated: 6/2/20                                                     FOR THE COURT
                                                                       Wayne Blackwelder Clerk,
                                                                       BY: auto , Deputy Clerk
                                                                       U.S. Bankruptcy Court
                                                                       Robert E. Coyle United States Courthouse
                                                                       2500 Tulare Street, Suite 2501
                                                                       Fresno, CA 93721−1318
                                                                       (559) 499−5800


     *   For your own protection, DO NOT send cash through the mail.
